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) 459 ”`" lizza-iris
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vs ) cn. No. 04-20177-01-13
)
eEnAi_D nAYBonN )
)
Defendant. )

ORDER ON JURY VERDICT

 

This cause came on for trial on Ju|y 11, 2005, the Unlted States Attorney for this Dlstrictl
Kevin Whitmore, representing the Govemment, and the defendant, Gera|d Fiayborn, appearing in
person and with counse|, James Garts and James Wilson.

Jurors were selected and sworn. After listening to opening statements, all of the proof,
closing arguments and jury charge, the jurors Were excused to begin deliberation.

Alter due deliberation, the jury returned in open court on Ju|y 14, 2005, and announced a
verdict of GU|LTY as to Counts 1, 2, 3 & 4 of the lndictment.

Jurors were polled individually.

The SENTENC|NG HEAR|NG is SET on Tuesday, October 18, 2005 at 1:30 p.m.
in Courtroom Number 1, on the 11"1 Floor, before Judge J. Daniel Breen.

Defendant was permitted to remain on his present bond status.

ENTEFiED this the fit dayofJu|y, 2005

  
  

J A lEL BREEN
NIT D STATES DISTR|CT JUDGE

This document entered on the docket heat i. compliance

with Ruie 55 and/or 32(b) FRCrP on j "Z£r /O$"

UNITED sTATE DISIC COUR - WESTERN D's'TRCT 0 TNNESSEE

     

Notice of Distribution

This notice confirms a copy of the document docketed as number 94 in
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Honorable J. Breen
US DISTRICT COURT

